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From:                Pat Noonan
Sent:                Tuesday, March 17, 2020 11:47 AM
To:                  'Jakub Madej'
Cc:                  Colleen Davis; Debbie Hackett; Anne-Marie Cicarella
Subject:             FW: Madej - Rule 26f report
Attachments:         20-03-11- Rule 26F Report - DRAFT.docx


Hi Jakub,
I hope you are enjoying your time with your family and that you are staying safe in a difficult time. I am sending again
the email I sent on March 11 enclosing a proposed Rule 26(f) Report, which is due to be filed on March 20. I have not
had any response from you. As indicated last week, the rule contemplates that we make an effort to reach agreement.
Accordingly, I would appreciate you letting me know as soon as possible whether you are in agreement. Due to other
commitments I have on Thursday afternoon and Friday, I will need to finalize this and file it Thursday morning. If I have
not heard from you by 5 p.m. on Wednesday, I plan to file my own report on Thursday. Thanks for your anticipated
cooperation.
Pat

Patrick M. Noonan
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From: Pat Noonan
Sent: Wednesday, March 11, 2020 7:25 PM
To: 'Jakub Madej'
Cc: Colleen Davis
Subject: FW: Madej ‐ Rule 26f report

Hi Jakub,
I hope you had an uneventful flight home and that you are enjoying your stay with your family. I am attaching a
proposed Rule 26(f) Report. We are supposed to attempt to agree on this, and file no later than March 20. Can you let
me know if you are in agreement, or whether you would suggest any changes? It would also be helpful if you could let
me know whether you intend to file any additional materials on your application for a preliminary injunction and if so,
when you expect to file. Thanks.
Pat

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